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                                                Nos. 25-3030, 25-3034


                 In the United States Court of Appeals for the Ninth Circuit
                                      AMERICAN FEDERATION OF
                                 GOVERNMENT EMPLOYEES, AFL-CIO, et al.,
                                                                                 Plaintiffs-Appellees,
                                                           v.
                                                DONALD J. TRUMP,
                           in his official capacity as President of the United States, et al.,
                                                                             Defendants-Appellants.

                                  On Appeal from the United States District Court
                                      for the Northern District of California

                                              In re DONALD J. TRUMP,
                           in his official capacity as President of the United States, et al.,
                                                                             Petitioner.

                        On Petition for Writ of Mandamus to the United States District Court
                                        for the Northern District of California

               MOTION OF CONSTITUTIONAL ACCOUNTABILITY CENTER FOR
                 LEAVE TO FILE AMICUS CURIAE BRIEF IN OPPOSITION TO
              EMERGENCY MOTION FOR STAY PENDING APPEAL/PETITION FOR
                                WRIT OF MANDAMUS


                        Movant Constitutional Accountability Center hereby requests leave under

              Federal Rule of Appellate Procedure 29(a)(3) to file an amicus curiae brief in

              opposition to the Emergency Motion for Stay Pending Appeal/Petition for Writ of

              Mandamus. The brief is attached as an exhibit to this motion. In support of its

              motion, amicus states as follows:
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                        1.   Constitutional Accountability Center (CAC) is a think tank and public

              interest law firm dedicated to fulfilling the progressive promise of the Constitution’s

              text and history. CAC works to improve understanding of the Constitution and

              preserve the rights, freedoms, and structural safeguards that it guarantees, and

              accordingly has an interest in this case.

                        2.   CAC has filed amicus briefs in courts of appeals and other courts

              addressing Congress’s plenary power over the existence and structure of executive

              departments and agencies. See, e.g., Brief of Current and Former Members of

              Congress as Amici Curiae in Support of Appellees and Affirmance, NTEU v. Vought,

              Nos. 25-5091, 25-5132 (D.C. Cir. filed May 9, 2025); Brief of Constitutional

              Accountability Center as Amicus Curiae in Support of Plaintiff’s Motion for

              Preliminary Injunction, Pers. Servs. Contractor Ass’n v. Trump, No. 25-cv-469

              (D.D.C. filed May 2, 2025); Brief of Constitutional Accountability Center as Amicus

              Curiae in Support of Plaintiffs’ Motion for Summary Judgment and in Opposition

              to Defendants’ Motion to Dismiss Or, in the Alternative, Motion for Summary

              Judgment, Am. Foreign Serv. Ass’n v. Trump, No. 25-cv-352 (D.D.C. filed Apr. 25,

              2025). Accordingly, CAC has developed expertise regarding Congress’s power to

              reorganize federal agencies and the history of Congress’s delegation of that power

              to the President, and its brief provides a unique historical perspective and more detail

              on this important aspect of this case than the parties can provide.



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                        3.   The attached brief explains that Congress has plenary power over the

              creation, reorganization, and abolition of federal agencies and has exercised that

              power since the Founding. The brief also explains that historical practice shows that

              when Congress believes that the President should have streamlined authority to

              reorganize the executive branch, it has delegated that power to the President through

              carefully tailored legislation, but absent such delegation, the President cannot

              unilaterally reorganize federal agencies.

                        4.   All parties consent to the filing of this brief.

                        WHEREFORE, movant respectfully requests leave to file the accompanying

              amicus curiae brief.

                                                         Respectfully submitted,

                                                         /s/ Elizabeth B. Wydra
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                                                         Brianne J. Gorod
                                                         Miriam Becker-Cohen
                                                         Anna K. Jessurun
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                                                         Counsel for Amicus Curiae

               Dated: May 14, 2025




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                                           CERTIFICATE OF SERVICE

                        I hereby certify that I electronically filed the foregoing with the Clerk of Court

              for the United States Court of Appeals for the Ninth Circuit by using the appellate

              CM/ECF system on May 14, 2025.

                        I certify that all participants in the case are registered CM/ECF users and that

              service will be accomplished by the appellate CM/ECF system.

                        Executed this 14th day of May, 2025.

                                                          /s/ Elizabeth B. Wydra
                                                          Elizabeth B. Wydra
                                                          Counsel for Amicus Curiae




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